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                EXHIBIT 26
        CASE 0:17-cr-00064-DWF-KMM Doc. 111-4 Filed 02/26/18 Page 2 of 2

From:                              Maria, David (USAMN) 1 </O=USA/OU=EXCHANGE ADMINISTRATIVE GROUP
                                   (FYDI BOH F23SPDLT)/CN = RECI Pl ENTS/CN =A63F46EF56FF4831A47CE93COASF3011-
                                   MARIA, DAVID (USAMN)>
Sent:                              Monday, May 16, 2016 12:30 PM
To:                                Kroells, Christine A; Kokkinen, John (USAMN)
Cc:                                Khan, Jennifer L. (MP) (FBI); Belich Brandon J
Subject:                           RE: Scio Emails - Privileged



I also saw that Hapeman had done some work for him before, so we need to add Hapeman, as well as the "@felhaber"
that you note below.

Additionally, it looks like he had a guy working on his tax issues - Tom Brever. We will add Brever as well as
@fosterbrever.com. He also had a civil litigation matter with Tamburino from Caplinlaw. He may have been opposing
counsel, but it is not relevant for our purposes, so we will add those also.

We need to do a little research on our end, as well as have a conversation with Scio's current counsel, to figure out some
of the issues like he Bland-Richter one. I'm assuming that we will be able to review those materials though, as they
already turned over the Nelson Mullins report, etc.




From: Kroells, Christine A [mailto:CAKroells@uspis.gov]
Sent: Monday, May 16, 2016 12:06 PM
To: Maria, David (USAMN) 1; Kokkinen, John (USAMN)
Cc: Khan, Jennifer L. (MP) (FBI); Belich Brandon J
Subject: Scio Emails - Privileged

In going through the emails, I've come across the following email addresses that appear to contain privileged
communications:
@arnstein.com
@felhaber.com

Also, are we allowed to look at the communications Adams et al had with Bland-Richter regarding the Scio v. Nelson
Mullins lawsuit?

Christie Kroells
Postal Inspector I U.S. Postal Inspection Service I Twin Cities Field Office
7360 Bush Lake Rd., Ste. 100, Minneapolis, MN 55439
Office: 612-884-7877
https://postalinspectors.uspis.gov/




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